             Case 7:23-cv-08262-PMH Document 10 Filed 09/19/23 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
WHITE PLAINS DIVISION

 STUDENTS FOR FAIR ADMISSIONS,

                                           Plaintiff,      No. 7:23-cv-08262

 v.

 THE UNITED STATES MILITARY
 ACADEMY AT WEST POINT; THE
 UNITED STATES DEPARTMENT OF
 DEFENSE; LLOYD AUSTIN, in his official
 capacity as Secretary of Defense; CHRISTINE
 WORMUTH, in her official capacity as Secretary
 of the Army; LIEUTENANT GENERAL
 STEVEN GILLAND, in his official capacity as
 Superintendent of the United States Military
 Academy; and LIEUTENANT COLONEL
 RANCE LEE, in his official capacity as Director
 of Admissions for the United States Military
 Academy at West Point,

                                       Defendants.


                              DECLARATION OF JAMES HASSON

        1.       I am an attorney at the law firm Consovoy McCarthy PLLC and counsel for Plaintiff

Students for Fair Admissions.

        2.       I am over the age of eighteen and under no mental disability or impairment. I have

personal knowledge of the following facts and, if called as a witness, I would competently testify to

them.

        3.       The following materials attached as exhibits are true and accurate copies of pages from

public websites that were downloaded as PDF files in 2023:




                                                    1
 Case 7:23-cv-08262-PMH Document 10 Filed 09/19/23 Page 2 of 4




a. Exhibit A is a true and correct copy of West Point’s website entitled, “The U.S. Military

   Academy at West Point.” That website can be accessed here: https://perma.cc/LM2A-

   BGH8.

b. Exhibit B is a true and correct copy of West Point’s website entitled, “Class of 2027 to

   enter West Point.” That website can be accessed here: perma.cc/4QY3-5BK6.

c. Exhibit C is a true and correct copy of West Point’s website entitled, “Class of 2026 to

   enter West Point.” That website can be accessed here: perma.cc/ZP2Z-XHQ8.

d. Exhibit D is a true and correct copy of West Point’s website entitled, “Cadet Consumer

   Information/Right      to   Know.”        That   website   can    be    accessed    here:

   https://perma.cc/H38P-JY3J.

e. Exhibit E is a true and correct copy of a 1994 paper from the U.S. Government

   Accountability Office entitled, “Military Academy: Gender and Race Disparities.”

f. Exhibit F is a true and correct copy of a 1999 report by the United States Department of

   Defense, Office of the Undersecretary of Defense for Personnel and Readiness, entitled,

   “Career Progression of Minority and Women Officers.” The report can be accessed here:

   perma.cc/5KM5-KUL9.

g. Exhibit G is a true and correct copy of a report by the United States Military Academy

   Board of Visitors entitled, “2017 Annual Report.” The report can be accessed here:

   https://perma.cc/ER6V-5PRY.

h. Exhibit H is a true and correct copy of a report by the United States Military Academy

   Board of Visitors entitled, “2018 Annual Report.” The report can be accessed here:

   perma.cc/Y8J2-6T3X.




                                         2
     Case 7:23-cv-08262-PMH Document 10 Filed 09/19/23 Page 3 of 4




i.    Exhibit I is a true and correct copy of a report by the United States Military Academy

      Board of Visitors entitled “2019 Annual Report.” The report can be accessed here:

      perma.cc/66LT-QVU7.

j.    Exhibit J is a true and correct copy of a news release by West Point entitled, “Class of

      2022 to Enter West Point.” The news release can be accessed here: perma.cc/L36Q-BX59.

k. Exhibit K is a true and correct copy of a news release by West Point Public Affairs entitled,

      “Class of 2023 to Enter West Point.” The news release can be accessed here:

      perma.cc/6MW6-VBEB.

l.    Exhibit L is a true and correct copy of a 2010 article by Mike Strasser entitled, “West Point

      Diversity Conference Discusses Progress, Challenges in Way Ahead.” The article can be

      accessed here: perma.cc/B344-MTM9.

m. Exhibit M is a true and correct copy of a 2003 New York Times Article entitled, “Service

      Academies Defend Their Use of Race in Admissions Policies.” The article can be accessed

      here: perma.cc/7HNU-QBGD.

n. Exhibit N is a true and correct copy of a report by the Department of Defense entitled,

      “Department of Defense Strategic Plan 2012-2017.” The report can be accessed here:

      perma.cc/TSN2-T62L.

o. Exhibit O is a true and correct copy of a 2001 Guardian article by James Maycock entitled,

      “War Within War.” The article can be accessed here: perma.cc/PX5M-ELMJ.

p. Exhibit P is a true and correct copy of a 2021 article by Walt Napier entitled “A Short

      History of Integration in the U.S. Armed Forces.” The article can be accessed here:

      perma.cc/PYT6-SDXA.




                                             3
         Case 7:23-cv-08262-PMH Document 10 Filed 09/19/23 Page 4 of 4




       q. Exhibit Q is a true and correct copy of an article in Task and Purpose by Sarah Sicard

           entitled, “How Affirmative Action Works at West Point.” The article can be accessed here:

           perma.cc/MH9E-KE2U.

       r. Exhibit R is a true and correct copy of a survey by the Ronald Reagan Institute entitled

           “National Defense Survey.” The survey can be accessed here: perma.cc/32B9-RZTZ.

       s. Exhibit S is a true and correct copy of an Atlantic article by Senator Tim Kaine entitled,

           “Why Our Best Officers Are Leaving.” The article can be accessed here: perma.cc/Y6AV-

           XZUC.

       t. Exhibit T is a true and correct copy of a Harvard study by Sayce Falk and Sasha Rogers

           entitled, “Junior Military Officer Retention: Challenges and Opportunities.” The study can

           be accessed here: perma.cc/JW2V-Y24Y.

       u. Exhibit U is a true and correct copy of a CBS News article by Anthony Salvanto entitled,

           “CBS News Poll Finds Most Americans Say Colleges Shouldn’t Factor Race Into

           Admissions.” The article can be accessed here: perma.cc/PW5D-ZUAT.

       v. Exhibit V is a true and correct copy of a Pew Research poll entitled, “Americans and

           affirmative action.” The poll can be accessed here: https://perma.cc/829A-AP6F.

       w. Exhibit W is a true and correct copy of a report by the Military Diversity Leadership

           Commission, entitled “From Representation to Inclusion.” The report can be accessed

           here: perma.cc/VR65-UFNE.

       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing is true and

correct to the best of my knowledge.


       Executed this 19th day of September, 2023             /s/James Hasson




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